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                         UNITED STATES DISTRICT COURT
20                      CENTRAL DISTRICT OF CALIFORNIA
21
     YITZCHOK FRANKEL et al.,                              Case No.: 2:24-cv-04702
22
        Plaintiffs,                                        PLAINTIFFS’ NOTICE OF
23   v.                                                    MOTION AND MOTION FOR
24                                                         PARTIAL SUMMARY
     REGENTS OF THE UNIVERSITY                             JUDGMENT AND
25   OF CALIFORNIA et al.,                                 PERMANENT INJUNCTION
26       Defendants.
                                                           Judge: Hon. Mark C. Scarsi
27                                                         Hearing: May 12, 2025, 9:00 a.m.
                                                           Courtroom: 7C

     *Admitted pro hac vice. ‡Not admitted to the D.C. Bar; admitted only in Texas. Supervised by licensed
     D.C. Bar members.
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 1      TO DEFENDANTS AND TO THEIR COUNSEL OF RECORD:
 2     NOTICE IS HEREBY GIVEN that on May 12, 2025, at 9:00 A.M.
 3   in Courtroom 7C of the above-entitled court, located at 350 W. 1st St.,
 4   Los Angeles, California, Plaintiffs will move and hereby move this
 5   Court for partial summary judgment and to permanently enjoin
 6   Defendants from operating in a way that violates Plaintiffs’ rights
 7   under the First Amendment’s Free Exercise Clause. This motion is
 8   made following the conference of counsel pursuant to L.R. 7-3 which
 9   took place on February 3, 2025.
10     As described in more detail in the accompanying memorandum,
11   Plaintiffs are three Jewish students and one Jewish professor at
12   UCLA who wish to attend classes and other activities free from
13   discrimination and antisemitic harassment. But as things stand,
14   UCLA has failed to guarantee Plaintiffs equal access to UCLA’s
15   educational facilities, indoor and outdoor areas on campus, and UCLA-
16   affiliated activities and programs. Rather, Defendants have supported
17   and facilitated religion-based exclusions.
18     UCLA’s actions violate the Free Exercise Clause. The Supreme
19   Court has “repeatedly held that a State violates the Free Exercise
20   Clause when it excludes religious observers from otherwise available
21   public benefits.” Carson v. Makin, 596 U.S. 767, 778 (2022). In
22   addition, government policies that (1) treat “any comparable secular
23   activity more favorably than religious exercise,” Tandon v. Newsom,
24   593 U.S. 61, 62 (2021) (per curiam) (emphasis in original), or (2) allow
25   for a “discretionary” system of “individualized exemptions,” Fulton v.
26   City of Philadelphia, 593 U.S. 522, 533, 536 (2021), violate the Free
27   Exercise Clause unless they satisfy strict scrutiny, Fellowship of
28      PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY
                    JUDGMENT AND PERMANENT INJUNCTION
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 1   Christian Athletes v. San Jose Unified Sch. Dist. Bd. of Educ., 82 F.4th
 2   664, 686-90 (9th Cir. 2023) (en banc). Here, UCLA’s policies violate all
 3   three commands, and the policies do not satisfy strict scrutiny.
 4     WHEREFORE, Plaintiffs respectfully request that this Court grant
 5   them partial summary judgment and a permanent injunction in this
 6   action. This request is based on this Notice of Motion and Motion; the
 7   accompanying supporting Memorandum of Points and Authorities; the
 8   L.R. 56-1 Statement of Uncontroverted Facts and Conclusions of Law;
 9   the declarations and exhibits of Yitzchok Frankel, Joshua Ghayoum,
10   Eden Shemuelian, Kamran Shamsa, and Eric Rassbach; as well as the
11   papers, evidence, and records on file in this action; and any other written
12   or oral evidence or argument as may be presented at or before the time
13   this motion is heard by the Court. Plaintiffs are filing a proposed order
14   concurrently with this Notice of Motion and Motion.
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28      PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY
                    JUDGMENT AND PERMANENT INJUNCTION
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 1                              Dated: February 28, 2025
 2
                                Respectfully submitted,
 3
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